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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 K. C., et al.,                                )
                                               )
                                               )
                        Plaintiffs,            )
                                               )
                     v.                        )   No. 1:23-cv-00595-JPH-KMB
                                               )
 THE INDIVIDUAL MEMBERS OF THE                 )
 MEDICAL LICENSING BOARD OF                    )
 INDIANA in their official capacities, et al., )
                                               )
                        Defendants.            )

  ORDER SCHEDULING FINAL PRETRIAL CONFERENCE AND TRIAL DATES

        The Court SCHEDULES this case for a final pretrial conference on

 October 9, 2024, at 1:30 p.m. and bench trial to commence on November 4,

 2024, at 9:00 a.m. in Room 329, United States Courthouse, 46 E. Ohio Street,

 Indianapolis, Indiana.

 SO ORDERED.

 Date: 9/19/2023




 Distribution:

 All Electronically Registered Counsel
